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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

ELISE ANNETTE DAVIS                                                             PLAINTIFF

v.                              Case No. 4:21-cv-00712 JM

ANGELA NEWCOMB, Assistant Director,
Prevention and Recertification; SHEPHANIE
BEASLEY, Acting Area Director; LASONYA
MOOREHEAD, DCFS Case Manager; CARLA
MONTGOMERY, Case Worker; ARKANSAS
DEPARTMENT OF FAMILY AND CHILDREN
SERVICES                                                                    DEFENDANTS


                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice.

       IT IS SO ORDERED this 4th day of November, 2021.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
